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                       Exhibit IV
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

     WARNER RECORDS INC., et al.,

                           Plaintiffs,
                                                        Case No. 19-cv-00874-RBJ-MEH
                    v.

     CHARTER COMMUNICATIONS, INC.,

                           Defendant.

                           DECLARATION OF ANDREW H. SCHAPIRO

           I, Andrew H. Schapiro, declare as follows:

           1.      I am a partner in the law firm Quinn Emanuel Urquhart & Sullivan, LLP, and

    counsel for Defendant Charter Communications, Inc. (“Charter”) in this case. I submit this

    declaration in support of Charter’s Motion for Summary Judgment. I make this declaration of my

    own personal knowledge and, if called, I could and would competently testify hereto under oath.

           2.      Attached hereto as Exhibit A is a true and correct copy of an email dated January

    6, 2021 from Judge Hegarty to Plaintiffs’ and Charter’s counsel of record stating that the Court

    has excused the parties from the Court’s pre-briefing letter requirement for dispositive motions.

           3.      Attached hereto as Exhibit B is a true and correct copy of a document titled “Music,

    Film, TV, and Broadband Collaborate to Curb Online Content Theft Announce Common

    Framework for ‘Copyright Alerts’” that was downloaded on November 12, 2021 from the

    following location:

    https://web.archive.org/web/20110710014626/www.copyrightinformation.org/node/704.




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           4.      Attached hereto as Exhibit C is a true and correct copy of a document titled “Center

    for Copyright Information And Copyright Alert System Fact Sheet” that was downloaded on

    November 12, 2021 from the following location:

    https://web.archive.org/web/20110709181338/http://www.copyrightinformation.org/alerts.

           5.      Attached hereto as Exhibit D is a true and correct copy of Plaintiffs’ Second

    Supplemental Objections and Responses to Charter Communications, Inc.’s Second Set of

    Interrogatories to the Music Publisher Plaintiffs, dated January 19, 2021, which contains the Music

    Publisher Plaintiffs’ response to Interrogatory 13. The Music Publisher Plaintiffs’ verified

    supplemental response to Interrogatory No. 13 identifies sound recordings in Exhibit A to the First

    Amended Complaint that correspond to musical compositions identified in Exhibit B to the First

    Amended Complaint. Based on the information contained in this Interrogatory response, if the

    Court were to hold that corresponding sound recordings and musical compositions are counted a

    single work for statutory damages purposes, the number of works-in-suit eligible for an award of

    statutory damages in this case would decrease from

           6.      Attached hereto as Exhibit E is a true and correct copy of Plaintiffs’ verified Third

    Supplemental Objections and Responses to Charter Communications, Inc.’s Second Set of

    Interrogatories to the Record Company Plaintiffs and Appendix I, dated April 1, 2021, which

    contains the Record Company Plaintiffs’ verified supplemental response to Interrogatory 13.

    Appendix I to the Record Company Plaintiffs’ verified supplemental response to Interrogatory No.

    13 identifies sound recordings in Exhibit A to the First Amended Complaint that were first issued

    or released together on or as albums or compilations. Based on the information contained in this

    Interrogatory response, if the Court were to rule that sound recordings first issued together on or


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    as albums or compilations are counted as a single work for statutory damages purposes, the number

    of works-in-suit eligible for an award of statutory damages in this case would decrease from



           7.      Based on the information contained in the Music Publisher Plaintiffs’ verified

    supplemental response to Interrogatory No. 13 and the Record Company Plaintiffs’ verified

    supplemental response to Interrogatory No. 13 and Appendix I, if the Court were to rule both that

    (a) corresponding sound recordings and musical compositions are counted as a single work for

    statutory damages purposes, and (b) sound recordings first issued together on or as albums or

    compilations are a single work for statutory damages purposes, the number of works-in-suit

    eligible for an award of statutory damages in this case would decrease from

           8.      Attached hereto as Exhibit F is a chart summarizing information contained in the

    copyright registrations for 71 specific works-in-suit identified in Exhibits A and B to Plaintiffs’

    First Amended Complaint and the corresponding notice of alleged copyright infringement

    (“Notice”) that was sent to Charter for each such work-in-suit. This chart shows that for each of

    the 71 works-in-suit listed, the work-in-suit was (a) not registered at the time a Notice was sent to

    Charter, and (b) not registered within three months of the date the work was first published. The

    information relating to the 71 works-in-suit contained in the chart was derived from registrations

    and Notices produced by Plaintiffs in this case; the “Source” column of the chart identifies the

    Bates numbers of those registrations and Notices.

           9.      The information that links the copyright registrations for each of the 71 works-in-

    suit contained in the chart attached as Exhibit F to their corresponding Notices is contained in

    Plaintiffs’ Amended Supplemental Objections and Responses to Charter Communications, Inc.’s


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    Second Set of Interrogatories to the Record Company Plaintiffs, dated December 11, 2020,

    Interrogatory No. 14, and Plaintiffs’ Amended Supplemental Objections and Responses to Charter

    Communications, Inc.’s Second Set of Interrogatories to the Music Publisher Plaintiffs, dated

    Dececember 11, 2020, Interrogatory No. 15, true and correct copies of which are attached hereto

    as Exhibit G and Exhibit H, respectively. Charter is mindful of the Court’s stated preference for

    limiting the number and volume of exhibits submitted in support of motions for summary

    judgment, as reflected in Judge R. Brooke Jackson’s Practice Standards, and accordingly has not

    included the lengthy tables to these interrogatory responses with its submission because together

    they total over 2,000 pages. However, should the Court request copies of these tables, Charter will

    provide them to the Court on an external hard drive.

           10.     Based on a review of the copyright registrations produced by Plaintiffs for the

    works-in-suit, 6,440 sound recordings at issue in this case were registered as works-for-hire.

           I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

    and correct. Executed on this 15th day of November, 2021, at Chicago, Illinois.




                                                     Andrew H. Schapiro




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